              Case 2:12-cv-05327-JFW-MRW Document 19 Filed 08/10/12 Page 1 of 2 Page ID #:111

  L A W O F F I C E S O F C O U R T N E YM . C O A T E S
  C O U R T N E YM . C O A T E S _ 2 0 3 4 4 8
  26201 Ynez Rd., Ste. 103
  Temecula, CA 9259I
  ccoateslaw@gmai1. com
     n               l                   -   .           \             -   A   -
      9   .        I         V       h           |           |         h   v   h   -       H               |       |   H
                    \    J       J       L   J                         J   J           J       V   4   I       U




  F:               (951) 296-2I86



                                                                                                                            UI'IITEDSTATESDISTRICT COURT
                                                                                                                           CENTRAL DISTRICTOF CALIFORNTA
                                                                                                                                                                 (A5t_ N(r!ttsf R:
  MAS S E Y E NT E RP R ISE IN T E R N AT IOIV AL e T aI .
                                                                                                                                                                                     CVl 2 - 05327 JFW MRWX
                                                                                                                                               Pl ai nti ff(s)


                                                                                                                                                                                   PROOFOF SERVICE
 A S S O C I A T E DT E L E V I S I O N I N T E R N A T I O N A L e T a
                                                                                                                                                                                STJMMOI\SAND COMPLAINT
                                                                                                                                                                           (t)seseparatc              lirr eachperson/part1
                                                                                                                                                                                       prool'ot'scrvrce                  servcd)
                                                                                                                                             Defendant(s)

 l.            A t t h e t i n r eo f s e r v i c eI was at least l8 yearsof age and not aparty to this action and I scrved copiesof the (spec4fu
                                                                                                                                                doc'ument,s):
              a.                 E                       summons                                                           E     complaint             I    al i assummons                  I     firstamendec
                                                                                                                                                                                                             complaint
                                                                                                                                                                                            I     secondamended cornplaint
                                                                                                                                                                                            D     thi rdamended
                                                                                                                                                                                                              compl ai nt

                             [                               other(.speci/v):
2. Personserved:
   a . t r D e f ' e n d a( n ta m e ,D
                                      1a' .v i d                                      McKenzie, also known as Davrd                                                                             Stanton,              an individual
              b. [                                       Other(spec'ifi'nutne
                                                                           untl tirle or relutionshipto theparg,/bnsiness
                                                                                                                       numedl.


              c . X l A d d r e swsh e r ep a p e rw
                                                   s e r es e r v e d4: 4 9 1 W i l s h i r e                                                                       Blvd.,            Los Angefes,                 CA 9OO1O
3.            Manner ofService in compliancewith lthe appropriatebot must be checkedl:
              a. E                                       Federal
                                                              RulesoiCivil Procedure
              b. n                                       California
                                                                  CodeofCivil Proce<.lure

4.            I servedth€personnamedin ltem2:
              a. E                                       By Personalservice.By personally         copies.Ifthe personis a minor.by leavingcopreswith a parent,
                                                                                         delivering                                                         guardian,
                                                         conservator
                                                                  or similarfiduciaryandto theminorif at leasttwelve( l2) yearsofage.

                                 l .                     E                                      d o n (ri u te )'7 / 2 5 / 12
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              h T - l                                    B y S u b s t i t u t e ds e r v i c e . B y l e a v i n gc o p i e s :
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                             l.                      {-]                   ( h o m e )a t t h e d w e l l i n g h o u s e .u s u a lp l a c eo f a b o d e o                                       s f ' t h ep e r s o ns e r v e di n t h e p r e s e n c o
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                         J.                          I           i         p a p e r sw e r e m a i l e d o n ( d a t e ) :

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      Case 2:12-cv-05327-JFW-MRW Document 19 Filed 08/10/12 Page 2 of 2 Page ID #:112



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 5. Serviceuponthe UnitedStates,and lts Agencies,
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      b , T            By sending
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      c. I             B y s end i n a   g c o p yo f' th es u m m o n as n dc onrpl ai nt
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6 . At t het im eof s er v i c e
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7. Personserving(name,uddres.s
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     f        l a m a C a l i f o r n i as h e r i f ' fm
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I declareunderpenalryof peryury
                              thatthe foregoingis trueandcorrect.


D a t e :I / 2 5 / L 2
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